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                                                                             NORTHERN DISTRICT OF TEXAS
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                             IN THE UNITED STATES DISTRICT                  T       SEP I 9 2018
                             FOR THE NORTHERN DISTRICT OF                    s
                                     FORT WORTH DIVISION                    CLERK, U.S. DISTRICT COURT
                                                                             By _______________
     UNITED STATES OF AMERICA                                                            Deputy


     v.                                                        No.   L\'.}~-CR-2.2.0-A

     WILLIAM BRIAN SMITH (01)

                                        FACTUAL RESUME

     INFORMATION

             Count One - Receipt of a visual depiction of a minor engaged in sexually
             explicit conduct, in violation of 18 U.S.C. § 2252(a)(2)



             Guilty plea to Count One

     MAXIMUM PENALTY

             The maximum penalty for Count One is as foll,ows:

             •   term of imprisonment for not less than five (5) years and not more than twenty
                 (20) years;
             •   a fine not to exceed $ 250,000.00, or twice any pecuniary gain to the defendant
                 or loss to the victim(s);
             •   a mandatory special assessment of $1 00;
             •   an additional mandatory special assessment of $5000 must also be imposed
                 pursuant to 18 U.S.C. § 3014 for offenses occurring on or after May 29, 2015,
                 unless the Court finds the defendant to be indigent,
             •   a term of supervised release of at least five (5) years up to any term of years to
                 life. Revocation of the term of supervised release could result in an additional
                 period of confinement. The effect of a revocation of a term of supervised
                 release is to make the overall period of incarceration longer;
             •   restitution to victim(s) or to the community, which may be mandatory under
                 the law; and
             •   costs of incarceration and supervision.


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ELEMENTS OF THE OFFENSE

       In order to establish the offense alleged in Count One of the Information, the
       government must prove the following elements beyond a reasonable doubt:

       First:          That the defendant did knowingly receive a visual depiction, as
                       alleged in the Information, using any means or facility of interstate
                       or foreign commerce, including by computer;

       Second:         That the production of such visual depiction involved the use of a
                       minor engaging in sexually explicit conduct;

       Third:          That such visual depiction was of a minor engaged in sexually
                       explicit conduct; and

       Fourth:         That the defendant knew that such visual depiction was of sexually
                       explicit conduct and that at least one of the persons engaged in
                       sexually explicit conduct in such visual depiction was a minor.

STIPULATION OF FACTS

1.      From on or about August 11, 2016 and continuing until on or September 11,

2017, in the Fort Worth Division of the Northern District of Texas, defendant William

Brian Smith knowingly received any visual depiction using any means and facility of

interstate and foreign commerce, by any means, including by computer, knowing the

production of such visual depiction involves the use of a minor engaging in sexually

explicit conduct and such visual depiction is of such conduct. Specifically, Smith used

the Internet and a computer to receive the following visual depictions of a minor engaged

in sexually explicit conduct as defined in 18 U.S.C. § 2256:




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                File Name                             File Description

 !NEW! (pthc) Lisa-slip 8yr oral-     This video file depicts an adult male performing
 2awesome-nightshot-wetcunny-         oral sexual intercourse on a prepubescent
 hymen-finger                         female. During the video the adult male spreads
                                      the child's genitals in a lascivious manner.

 !!!![Tropical Cutie] 8y Adry - The   This video file depicts two nude prepubescent
 Movie (2015)- Preteen PTHC           females performing oral sexual intercourse on
                                      an adult male who, later in the video, also
                                      engages in vaginal sexual intercourse with both
                                      prepubescent females.
 !!!Spycam Girls Medical              This video file depicts several prepubescent
 Examination (8Yo-14Yo)               females removing their underwear and
                                      lasciviously displaying their genitals. During the
                                      video, an adult male digitally penetrates and
                                      rubs the females' genitals.

 !!!TENT -NEW_2007_Kelly-             This video file depicts two nude, prepubescent
 Cabinlntro                           females lasciviously exposing their genitals.
                                      During the video, an adult male spreads and
                                      digitally penetrates one of the prepubescent
                                      female's genitals.

 !!georgia peach                      This video file depicts a prepubescent female
                                      laying on her back with a towel covering her
                                      face lasciviously exposing her genitals. During
                                      the video, an adult male rubs his hand on the
                                      female's body attempting to touch her genitals.

 !07 (14)                             This video file depicts a nude prepubescent
                                      female performing oral sexual intercourse on an
                                      adult male who, later in the video, also engages
                                      in anal and vaginal sexual intercourse with her.

 !Audio11575                          This video file depicts a minor female,
                                      approximately 12-14 years old, undressing and
                                      lasciviously exposing her genitals. During the
                                      video, the minor female utilizes various objects
                                      to digitally penetrate and/or masturbate.



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     !Buratino3 315- 3856                    This video file depicts several prepubescent
                                             females playing in a room and lasciviously
                                             displaying their genitals.

 2yxa_ru_AnnaM_Dares_imp 162408 This video file depicts a prepubescent female
                                lasciviously exposing her genitals to the camera.
 Kearb1618                                   This video file depicts a prepubescent female
                                             lasciviously exposing her genitals and breasts to
                                             a camera.


2.        On October 3, 2017, Saginaw Police were called to a business located on East

McLeroy Boulevard in regard to former employee William Brian Smith's work

computer, which contained child pornography.

3.        After observing sexually explicit images, officers seized the work computer, a

Dell OptiPlex Computer Tower containing a Seagate Barracuda 500GB hard drive.

Additionally, officers obtained a search warrant for Smith's residence, at which time they

seized computers and other electronic storage devices.

4.        A forensic examination of the Dell work computer revealed that under the

usernarne "brian smith," a "downloads" folder contained subfolders as well as images

and videos of child pornography to include those described in paragraph one.

5.        Smith agrees that he initially used the Internet to acquire the files described in

paragraph one, which he then transferred to his work computer via an external hard drive.

According to the forensic examination, the files referenced in paragraph one were

created, or received, onto his work computer from August 11, 2016 until September 11,

2017.


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6.      Smith knew that the video files that he received depicted real minors engaged in

sexually explicit conduct. Smith agrees that the Internet and his work computer are each

a means and facility of interstate and foreign commerce.

       SIGNED and AGREED to on this the       _io_ day of _    __,......,._F-----'     2018.



WILLIAM BRIAN SMITH                               J MICHAE PRICE, II
Defendant                                         Attorney for Defendant

        I have been advised, and understand, that under the Sex Offender Registration and
Notification Act, a federal law, I must register and keep the registration current in each of
the following jurisdictions: where I reside; where I am an employee; and where I am a
student. I understand that the requirements for registration include providing my name,
my residence address, and the names and addresses of any places where I am or will be
an employee or a student, among other information. I may also be required to provide
information about intended travel outside the United States. I further understand that the
requirement to keep the registration current includes informing at least one jurisdiction in
which I reside, am an employee, or am a student not later than three business days after
any change of my name, residence, employment, or student status. I have been advised,
and understand, that failure to comply with these obligations subjects me to prosecution
for failure to register under federal law, 18 U.S.C. Section 2250, which is punishable by a
fine or imprisonment or both.




WILLIAM BRIAN SMITH                               Date     ~~

      I am the defendant's counsel. I have carefully reviewed every part of this Factual
Resume with the defendant, including the notice that he is required to register as a sex
offender. To my knowledge and belief, my client's decision to enter into this Factual
Resume is an ·nfo        d voluntary one.


                                                  Date
Attorney for



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